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                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                  EL PASO DIVISION

 UNITED STATES OF AMERICA,                          §
                                                    §
         Plaintiff,                                 §
                                                    §
 v.                                                 §   CRIMINAL NO. EP-24-CR-1735-KC
                                                    §
 OMAR AGUIRRE MARCIAL,                              §
                                                    §
         Defendant.                                 §

                         UNITED STATES OF AMERICA'S
              BILL OF PARTICULARS FOR FORFEITURE OF PROPERTY

       Comes now the United States of America, by and through the United States Attorney for

the Western District of Texas and the undersigned Assistant United States Attorney, and files the

following Bill of Particulars for Forfeiture of Property.

       The Indictment (ECF No. 10), returned on August 14, 2024, gave notice that the United

States seeks the criminal forfeiture of property pursuant to Title 21 U.S.C. §§ 853(a)(1) and (2),

Title 18 U.S.C §§ 934(a)(1)(A) and (B), and 924(d)(1), as made applicable to criminal forfeiture

by Title 28 U.S.C. § 2461(c) from Defendant OMAR AGUIRRE MARCIAL. Specifically, this

Bill of Particulars seeks the criminal forfeiture of certain property, which is included herein from

the Defendant, for the violations of Title 21 U.S.C. §§ 846, 841(a)(1) and 841(b)(1)(A)(viii), Title

18 U.S.C. §§ 922(g)(1), 922(g)(5)(A), 924(a)(8) and 924(c)(1)(A), and Title 18 U.S.C. §§

933(a)(1), (a)(3) and (b) as follows:

              NOTICE OF GOVERNMENT’S DEMAND FOR FORFEITURE
                           [See Fed. R. Crim. P. 32.2.]

                                              I.
                            Drug Violation and Forfeiture Statutes
                  [Title 21 U.S.C. §§ 846, 841(a)(1) and 841(b)(1)(A)(viii),
            subject to forfeiture pursuant to Title 21 U.S.C. §§ 853(a)(1) and (2)]
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       As a result of the foregoing criminal violations set forth in Counts One through Four of the

Indictment, the United States gives notice to Defendant OMAR AGUIRRE MARCIAL of its intent

to seek the forfeiture of the property described below upon conviction pursuant to F ED. R. CRIM.

P. 32.2 and Title 21 U.S.C. §§ 853(a)(1) and (2), which state:

       Title 21 U.S.C. § 853. Criminal Forfeitures
       (a) Property subject to criminal forfeiture
               ***
           (1) any property constituting, or derived from, any proceeds the person obtained,
           directly or indirectly, as the result of such violation;
           (2) any of the person’s property used, or intended to be used, in any manner or part, to
           commit, or to facilitate the commission of, such violation.

                                              II.
                         Firearms Violation and Forfeiture Statutes
[Title 18 U.S.C. §§ 922(g)(1), 922(g)(5)(A), 924(a)(8) and 924(c)(1)(A), subject to forfeiture
       pursuant to Title 18 U.S.C. § 924(d)(1), made applicable to criminal forfeiture
                                by Title 28 U.S.C. § 2461(c)]

       As a result of the foregoing criminal violations set forth in Counts Five through Seven of

the Indictment, the United States of America gives notice to Defendant OMAR AGUIRRE

MARCIAL of its intent to seek the forfeiture of the property described below upon conviction

pursuant to FED. R. CRIM. P. 32.2 and Title 18 U.S.C. § 924(d)(1), as made applicable to criminal

forfeiture by Title 28 U.S.C. § 2461(c). Section 924 states, in pertinent part, the following:

       Title 18 U.S.C. § 924.
              (d)(1) Any firearm or ammunition involved in or used in any knowing violation
              of subsection (a)(4), (a)(6), (f), (g), (h), (i), (j), or (k) of section 922, or knowing
              importation or bringing into the United States or any possession thereof any firearm
              or ammunition in violation of section 922(l), or knowing violation of section 924,
              shall be subject to seizure and forfeiture under the provisions of this chapter. . .

                                                III.
                    Firearms Trafficking Violations and Forfeiture Statutes
          [Title 18 U.S.C. §§ 933(a)(1), (a)(3) and (b), subject to forfeiture pursuant
          to Title 18 U.S.C §§ 934(a)(1)(A) and (B) & 924(d)(1), as made applicable
                       to criminal forfeiture by Title 28 U.S.C. § 2461(c)]



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       As a result of the criminal violations set forth in Count Eight of the Indictment, the United

States of America gives notice to Defendant OMAR AGUIRRE MARCIAL of its intent to seek

the forfeiture of the property described below upon conviction and pursuant to F ED. R. CRIM. P.

32.2, Title 18 U.S.C. §§ 934(a)(1)(A) and (B) & 924(d)(1), as made applicable to criminal

forfeiture by Title 28 U.S.C. § 2461(c), which state:

       Title 18 U.S.C. § 934. - Forfeiture and Fines
       (a) Forfeiture.
         (1) In General.— Any person convicted of a violation of section 932 or 933 shall forfeit
         to the United States, irrespective of any provision of State law—
           (A) any property constituting, or derived from, any proceeds the person obtained,
           directly or indirectly, as the result of such violation; and
           (B) any of the person’s property used, or intended to be used, in any manner or part,
           to commit, or to facilitate the commission of, such violation, except that for any
           forfeiture of any firearm or ammunition pursuant to this section, section 924(d) shall
           apply.

       Title 18 U.S.C. § 924.
          ***
           (d)(1) Any firearm or ammunition involved in or used in any knowing violation of
           subsection (a)(4), (a)(6), (f), (g), (h), (i), (j), or (k) of section 922, or knowing
           importation or bringing into the United States or any possession thereof any firearm or
           ammunition in violation of section 922(l), or knowing violation of section 924, shall be
           subject to seizure and forfeiture under the provisions of this chapter. . .

        This Notice of Demand for Forfeiture includes but is not limited to the property described

below in Paragraph IV and money judgment described in Paragraph V.

                                              IV.
                                            Property

   1. SCCY CPX-2 9mm caliber pistol, serial number 865032;
   2. Any and all property, real or personal, involved in or used in the commission of the criminal
      offense; and
   3. Any and all firearms, ammunition, and/or accessories involved in or used in the
      commission of the criminal offenses.




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                                              V.
                                        Money Judgment

        A sum of money that represents the amount of proceeds obtained, directly or indirectly,
property involved in such offense, or traceable to such property as a result of the violations set
forth in Counts One through Four and Eight which Defendant OMAR AGUIRRE MARCIAL is
solely liable.

                                        Substitute Assets

       If any of the above-described forfeitable property, as a result of any act or omission of the

Defendant:

               a.      cannot be located upon the exercise of due diligence;

               b.      has been transferred or sold to, or deposited with, a third person;

               c.      has been placed beyond the jurisdiction of the Court;

               d.      has been substantially diminished in value; or

               e.      has been commingled with other property which cannot be subdivided
                       without difficulty;

it is the intent of the United States to seek forfeiture, pursuant to Title 21 U.S.C. § 853(p), as

incorporated by Title 28 U.S.C. § 2461(c), of any other property of said Defendant up to the value

of the forfeitable property.

                                                      Respectfully submitted,

                                                      JAIME ESPARZA
                                                      UNITED STATES ATTORNEY

                                              By:     /s/
                                                      Patricia J. Acosta
                                                      Assistant United States Attorney
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                                 CERTIFICATE OF SERVICE

         I hereby certify that on August 27, 2024, the foregoing instrument was electronically filed
with the Clerk of the Court using the CM/ECF System which will transmit notification of such
filing to the following CM/ECF participant:

 Manuel Acosta-Rivera
 Assistant Federal Public Defender
 Email: Manuel_Acosta@fd.org
 Attorney for OMAR AGUIRRE MARCIAL




                                                                     /s/
                                                     PATRICIA J. ACOSTA
                                                     Assistant United States Attorney




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